                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION - DETROIT

 IN RE:
                                                      CHAPTER 13
 Alvin J. Johnson,                                    CASE NO. 16-41277-PJS
                             DEBTOR.                  JUDGE PHILLIP J. SHEFFERLY
 _______________________________________/

           TRUSTEE’S OBJECTION TO CONFIRMATION OF THE
    DEBTOR'S SECOND MODIFIED, PRE-CONFIRMATION CHAPTER 13 PLAN

        NOW COMES the Chapter 13 Standing Trustee in this matter, David Wm. Ruskin, and
objects to confirmation of the debtor's Second Modified, Pre-Confirmation Chapter 13 Plan, and
in support thereof states as follows:

        1.     Based upon the debtor’s Schedule A/B, the debtor discloses the value for the real
property located at 6826 Colvert Street, Detroit, Michigan, with a fair market value of $5,000.00.
Further, based upon the debtor’s amended Schedule A/B, the debtor discloses an interest in real
property located at 6818 Colvert Street, Detroit, Michigan, with a fair market value of $1,000.00.
The Trustee requests that the debtor provide objective documentation in support of the valuation
of these real properties so that the Trustee can determine if the debtor’s Plan complies with 11
U.S.C. Section 1325(a)(4).

       2.      The amount of the proposed funding in the Plan is not sufficient to pay all claims
as proposed in the Plan (the Plan is underfunded). Therefore, the debtor fails to provide for the
submission of sufficient future earnings or future income for the execution of the Plan as
required by 11 U.S.C. 1322(a)(1).

       WHEREFORE, the Chapter 13 Standing Trustee requests that this Honorable Court
deny confirmation of the debtor's Chapter 13 Plan.

                          OFFICE OF DAVID WM. RUSKIN,
                          STANDING CHAPTER 13 TRUSTEE

Dated: May 20, 2016       By: __/s/ Thomas D. DeCarlo________
                          LISA K. MULLEN (P55478)
                          THOMAS D. DECARLO (P65330)
                          Attorneys for Chapter 13 Trustee, David Wm. Ruskin
                          1100 Travelers Tower
                          26555 Evergreen Road
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  16-41277-pjs       Doc 47    Filed 05/20/16    Entered 05/20/16 13:46:29        Page 1 of 2
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 IN RE:
                                                      CHAPTER 13
 Alvin J. Johnson,                                    CASE NO. 16-41277-PJS
                             DEBTOR.                  JUDGE PHILLIP J. SHEFFERLY
 _______________________________________/

CERTIFICATE OF SERVICE OF TRUSTEE’S OBJECTION TO CONFIRMATION OF
 THE DEBTOR'S SECOND MODIFIED, PRE-CONFIRMATION CHAPTER 13 PLAN

       I hereby certify that on May 20, 2016, I electronically filed the Trustee’s Objection to
Confirmation of the debtor's Second Modified, Pre-Confirmation Chapter 13 Plan with the Clerk
of the Court using the ECF system which will send notification of such filing to the following:
       The following parties were served electronically:
               BERMAN & BISHOP PLLC
               24405 GRATIOT
               EASTPOINTE, MI 48021-0000

       The following parties were served via First Class Mail at the addresses below by
depositing same in a United States Postal Box with the lawful amount of postage affixed thereto:

               Alvin J. Johnson
               6819 Covert Street
               Detroit, MI 48212



                              _____/s/ Jayme L. DePriest____________
                              Jayme L. DePriest
                              For the Office of David Wm. Ruskin,
                              Chapter 13 Standing Trustee - Detroit
                              1100 Travelers Tower
                              26555 Evergreen Road
                              Southfield, MI 48076-4251
                              (248)352-7755




  16-41277-pjs       Doc 47    Filed 05/20/16    Entered 05/20/16 13:46:29        Page 2 of 2
